     Case 1:16-cr-00072-JLT-SKO Document 22 Filed 09/08/16 Page 1 of 2
 1
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 5

 6   ATTORNEY FOR Defendant,
     JUSTIN MICHAEL BOYAJIAN
 7

 8
                                      UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10                                                 ******
11   UNITED STATES OF AMERICA,                            Case No.: 1:16-CR-00072-LJO-SKO

12                     Plaintiff,
                                                          DEFENDANT’S NOTICE OF WAIVER
13            v.                                          OF PERSONAL APPEARANCE
14

15   JUSTIN MICHAEL BOYAJIAN,

16                     Defendant.

17   TO:      THE HONORABLE JUDGE SHEILA K. OBERTO, AND TO ASSISTANT
              UNITED STATES ATTORNEY KIMBERLY SANCHEZ:
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19            Defendant, JUSTIN MICHAEL BOYAJIAN, hereby waives his right to be present in

20   open Court upon the hearing of any motion or other proceeding in this cause, including but

21   not limited to, when the case is ordered set for trial, when a continuance is ordered, and when

22   any other action is taken by the court before or after trial, except upon arraignment, plea,

23   empanelment of jury and imposition of sentence.

24            Defendant hereby requests the Court proceed during every absence of which the Court

25   may permit pursuant to this waiver; agrees that his interests will be deemed represented at all

26   times by the presence of his attorney, Anthony P. Capozzi, the same as if the Defendant was
27   personally present; and further agrees to be present in person in Court ready for trial any day

28   and hour the Court may fix in his absence.

                                                        1
                               DEFENDANT’S NOTICE OF WAIVER OF PERSONAL APPEARANCE
     Case 1:16-cr-00072-JLT-SKO Document 22 Filed 09/08/16 Page 2 of 2
 1         Defendant further acknowledges that he has been informed of his rights under

 2   Title 18, United States Code, section 3161-3174 (Speedy Trial Act), and authorizes his

 3   attorney to set times and delays under the Act without Defendant being present.

 4

 5   DATED:      September 7, 2016                  By: /s/Justin M. Boyajian
                                                        JUSTIN MICHAEL BOYAJIAN
 6

 7

 8                                                        Respectfully submitted,

 9   DATED:      September 7, 2016                  By: /s/Anthony P. Capozzi
                                                        ANTHONY P. CAPOZZI
10                                                      Attorney for Defendant JUSTIN
                                                        MICHAEL BOYAJIAN
11

12

13                                              ORDER

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15   IT IS SO ORDERED.

16
     Dated:    September 8, 2016                                /s/   Sheila K. Oberto    .
17                                                    UNITED STATES MAGISTRATE JUDGE

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                          DEFENDANT’S NOTICE OF WAIVER OF PERSONAL APPEARANCE
